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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA



HPK MANAGEMENT D.O.O. and HPK
ENGINEERING B.V.,

                         Petitioners,
                                                         Civ. No. 1:18-cv-1773
              v.

THE REPUBLIC OF SERBIA and ŽELEZARA
SMEDEREVO D.O.O.,

                         Respondents.


   [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF ATTORNEY
                  JAMES M. HOSKING PRO HAC VICE

       The Court has reviewed the Petitioners’ motion for admission of attorney James M.

Hosking pro hac vice. Upon consideration of that motion, the Court grants attorney James M.

Hosking pro hac vice admission to this Court.



 IT IS SO ORDERED.

 DATED:
                                            United States District Judge
